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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK



In re:                                                       Chapter 11

96 WYTHE ACQUISITION LLC,                                    Case No.: 21-22108 (RDD)

                              Debtor.


 ORDER GRANTING MOTION TO EXTEND THE DEBTOR’S EXCLUSIVE PERIOD
          TO SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN

         Upon the timely motion (the “Motion”) of 96 Wythe Acquisition LLC, the debtor and

debtor in possession herein (the “Debtor”) for an order under 11 U.S.C. § 1121(d)(2)(B) extending

the 180-day period in which only the Debtor may solicit acceptances of a chapter 11 plan (the

“180 Day Period”), by approximately 60 days; and there being due and sufficient notice of the

Motion; and there being no opposition to the requested relief; and upon the record of the hearing

held by the Court on the Motion on January 27, 2022; and, after due deliberation and for the reasons

stated by the Court at the hearing, the Court having determined that the Debtor has established

sufficient cause for the requested extension, it is hereby

         ORDERED, that the 180 Day Period is extended through and including February 22, 2022;

and it is further

         ORDERED, that this Order is without prejudice to the rights of the Debtor and/or other

parties in interest to seek to further extend or to shorten or terminate the 180 Day Period for cause

shown.

Dated: January 31, 2022
      White Plains, New York
                                                      /s/Robert D. Drain
                                                      HONORABLE ROBERT D. DRAIN
                                                      UNITED STATES BANKRUPTCY JUDGE
